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                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF DELAWARE

    VOLTERRA SEMICONDUCTOR LLC, )
                                )
            Plaintiff,          )
                                )
      v.                        ) C.A. No. 19-2240-CFC-SRF
                                )
    MONOLITHIC POWER SYSTEMS,   )
    INC.,                       )
                                )
            Defendant.          )


        [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO
         EXCLUDE CERTAIN TESTIMONY OF DR. JAMES DICKENS

         At Wilmington this ____ day of ______________, 2021, having considered

   Defendant Monolithic Power Systems, Inc.’s Motion to Exclude Certain Testimony

   of Dr. James Dickens, and all papers and argument submitted therewith, IT IS

   HEREBY ORDERED that the motion is GRANTED. Paragraphs 14 and 149 of the

   Reply Expert Report of Dr. James Dickens, P.E. Regarding Infringement of United

   States Patent Nos. 6,362,986; 7,525,408; and 7,772,955 are STRICKEN, and Dr.

   Dickens is PRECLUDED from testifying regarding direct infringement by the

   Evaluation Board.



                                       _________________________________
                                       United States District Judge
